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                                                          April 7, 2021
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  8                           UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
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 11   MICHAEL RHAMBO,                       Case No.: 2:20-cv-07721-SB-RAO
                                            Assigned to Hon. Stanley Blumenfeld
 12
                 Plaintiff,                 ORDER GRANTING DISMISSAL OF
 13        vs.                              THE ENTIRE ACTION
 14
    WELLS FARGO BANK, NATIONAL
 15 ASSOCIATION; RYAN, LLC; and
 16 DOES 1 to 10,

 17              Defendants.
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                                         ORDER
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  1         Based on the request from Plaintiff and for good cause shown:
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  3         IT IS HEREBY ORDERED that the entire action be dismissed with
  4   prejudice with the Court to retain jurisdiction up until May 02, 2021.
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  6         SO ORDERED.
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  8
            DATED: April 6, 2021                     ___________
  9 ____________________

 10                                                  United States District Court Judge

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                                              ORDER
